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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8
     UNITED STATES OF AMERICA,                 )
 9                                             )       NO. CR06-198RSL
                   Plaintiff,                  )
10                                             )
                   v.                          )       ORDER CONTINUING
11                                             )       SENTENCING HEARING
     BRAULIO SANCHEZ-TORRES,                   )
12                                             )
                          Defendant.           )
13                                                 )
14           The government has filed a motion to continue the sentencing hearing in this
15   matter. As set forth more fully in the government’s motion, the request for continuance
16   comes as a result of certain assertions found in defendant’s Sentencing Memorandum,
17   which was filed on the afternoon of Friday, April 13, 2007. Specifically, the government
18   seeks a continuance so that it may have sufficient time to present testimony and evidence
19   to the Court with respect to a disputed factual matter.
20           Having considered the government’s motion, this Court holds that the sentencing
21   hearing shall be continued until Wednesday, May 16, 2007 at 8:30 a.m.
22           SO ORDERED this 16th day of April, 2007.
23

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                                                                Robert S. Lasnik
25                                                              United States District Judge
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                                                                                    UNITED STATES ATTORNEY
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                                                                                     EATTLE,W   ASHINGTON98101
     ORDER - 1                                                                            (206) 553-7970
